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                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-11900
                          ____________________

       BERKELEY VENTURES II, LLC,
                                                      Plaintiﬀ-Appellee,
       versus
       SIONIC MOBILE CORPORATION,


                                                  Defendant-Appellant,


       RONALD D. HERMAN,


                                                            Defendant.


                          ____________________

                 Appeal from the United States District Court
                    for the Northern District of Georgia
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       2                   Order of the Court               23-11900

                   D.C. Docket No. 1:19-cv-05523-VMC
                        ____________________

       ORDER:
           Appellee’s motion to stay the briefing schedule is
       GRANTED.


                              /s/ Robin S. Rosenbaum
                              UNITED STATES CIRCUIT JUDGE
